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    ~AO 245C
                                   CaseJudgment
                     (Rev. 09/ll) Amended 4:11-cr-00098-DPM
                                                in a Criminal Case          Document 204 Filed 11/16/12 Page
                                                                                                         (NOTE:1Identify
                                                                                                                 of 6 Changes with Asterisks(*))
                     Sheet l


                                                 UNITED STATES DISTRICT COURT                                                                     FILED
                                                                                                                                           U.S. DISTRICT COURT
                                  Eastern                                     District of                                        ArkansMSTERN DISTRICT ARKANSAS

                UNITED STATES OF AMERICA                                                   AMENDED JUDGMENT IN A C:Nil.VJ:I~i.W2\SE
                                     v.                                                                                          JAMES W.
                                                                                           Case Number: 4:11-cr-98-DPM3Y:---+~-f+-ff--,.11'-=~':"":'::~
                                Alex O'Neal
                                                                                           USM Number: 26379-009
    Date of Original Judgment:                  10/5/2012                                  John B. Thurman, Jr.
    (Or Date of Last Amended Judgment)                                                     Defendant's Attorney

    Reason for Amendment:
    D Correction of Sentence on Remand (18 U.S.C. 3742(t)(l) and (2))                      D Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
    D Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                       D Modification oflmposed Term oflmprisonment for Extraordinary and
         P. 35(b))                                                                            Compelling Reasons (18 U.S.C. § 3582(c)(l))
    D Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))                  D Modification oflmposed Term oflmprisonment for Retroactive Amendment(s)
    ri/ Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)                     to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))

                                                                                           D Direct Motion to District Court Pursuant D 28 U.S.C. § 2255 or
                                                                                             D 18 U.S.C. § 3559(c)(7)
                                                                                           D Modification of Restitution Order (18 U.S.C. § 3664)
    THE DEFENDANT:
    ~ pleaded guilty to count(s)           _T_w_o_o_f_th_e_ln_d_ic_tm_e_n_t._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
    D     pleaded nolo contendere to count(s)
          which was accepted by the court.
    D     was found guilty on count(s)
          after a plea of not guilty.
    The defendant is adjudicated guilty of these offenses:
    Title & Section                       Nature of Offense                                                                Offense Ended
     18 usc § 2; 21 usc §

        841 (a)(1) & -(b)(1 )(B)           Aiding & abetting the possession with intent to distribute
                                                                  mari.iuana. a Class B felony          11/19/201 0              2
           The defendant is sentenced as provided in pages 2 through        10      of this judgment. The sentence is imposed pursuant to
    the Sentencing Reform Act of 1984.
    D The defendant has been found not guilty on count(s)
    ri/ Count(s)         One of the Indictment                       ~is    Dare dismissed on the motion of the United States.
             It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
    or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
    the defenaant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                           9/25/2012
                                                                                           Date oflmposition of Judgment

                                                                                                   ~If.
                                                                                           Signature of Judge                V
                                                                                           D.P. Marshall Jr.                             U.S. District Judge
                                                                                           Name of Judge                                 Title of Judge
                                                                                                  I to   AltrvewJvt ';).. 0I "J-
                                                                                           Date
                    Case 4:11-cr-00098-DPM Document 204 Filed 11/16/12 Page 2 of 6
 AO 245C    (Rev. 09/ll) Amended Judgment in a Criminal Case
            Sheet 2 - Imprisonment                                                                     (NOTE: Identify Changes with Asterisks(*))

                                                                                                   Judgment- Page _2__ of                 10
 DEFENDANT: Alex O'Neal
 CASE NUMBER: 4:11-cr-98-DPM-6

                                                               IMPRISONMENT

      The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a
 total term of

60 MONTHS.




  ~ The court makes the following recommendations to the Bureau of Prisons:

The Court recommends that O'Neal participate in the RDAP program during incarceration. The Court recommends
commitment to FCI Memphis or the appropriate BOP facility closest to Little Rock, Arkansas, to facilitate visits by family who
live there.

 ri/ The defendant is remanded to the custody of the United States Marshal.
 D The defendant shall surrender to the United States Marshal for this district:
      D     at                                      D      a.m   D    p.m.      on

      D     as notified by the United States Marshal.

 D    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

      D     before 2 p.m. on

      D     as notified by the United States Marshal.

      D     as notified by the Probation or Pretrial Services Office.



                                                                     RETURN
 I have executed this judgment as follows:




      Defendant delivered on
                                   --------------------------------- 00
  at --------------------------------- with a certified copy of this judgment.




                                                                                               UNITED STATES MARSHAL


                                                                             By_____________________________________
                                                                                          DEPUTY UNITED STATES MARSHAL
                         Case 4:11-cr-00098-DPM Document 204 Filed 11/16/12 Page 3 of 6
 AO 245C       (Rev. 09/11) Amended Judgment in a Criminal Case
               Sheet 3 -Supervised Release                                                                     (NOTE: IdentifY Changes with Asterisks (*))

                                                                                                            Judgment-Page        3      of         10
 DEFENDANT: Alex O'Neal
 CASE NUMBER: 4:11-cr-98-DPM-6
                                                           SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of

4 YEARS.




          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
 the custody ofthe Bureau ofPnsons.
 The defendant shall not commit another federal, state, or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
 thereafter, as determined by the court.
 D        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)
 ~ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 ~ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
 D        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
          student, as directed by the probation officer. (Check, if applicable.)
 D        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fme or restitution, it is a condition of supervised release that the defendant pay in accordance with
 the Schedule of Payments slieet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
     1)    the defendant shall not leave the judicial district without the permission ofthe court or probation officer;
   2)       the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
   3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions ofthe probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)       the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
            a felony, unless granted permission to do so by the prooation officer;
  10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
            any contraband observed in plain view of the probation officer;
  11)       the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
  12)       the d~fepdant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
            permtsston of the court; and
  13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
            record1 personal history, or characteristics and shall permit the probation officer to make such notifications and confirm the
            defenaant's compliance with such notification requirement.
                   Case 4:11-cr-00098-DPM Document 204 Filed 11/16/12 Page 4 of 6
AO 245C   (Rev. 09/11) Amended Judgment in a Criminal Case
          Sheet 3C- Supervised Release                                                    (NOTE: IdentifY Changes with Asterisks(*))

                                                                                                        4_ of _ _1_0__
                                                                                        Judgment-Page _ _
DEFENDANT: Alex O'Neal
CASE NUMBER: 4: 11-cr-98-DPM-6

                                      SPECIAL CONDITIONS OF SUPERVISION
*1) O'Neal shall participate in a substance-abuse treatment program under the guidance and supervision of the U.S.
Probation Office. The program can include inpatient or outpatient treatment and drug testing. Throughout the course of
treatment O'Neal shall abstain from using alcohol.
---------------------------------------


                       Case 4:11-cr-00098-DPM Document 204 Filed 11/16/12 Page 5 of 6
   AO 245C   (Rev. 09/11) Amended Judgment in a Criminal Case
             Sheet 5 - Criminal Monetary Penalties                                                        (NOTE: Identify Changes with Asterisks (*))

                                                                                                   Judgment- Page __     s__.of             10
   DEFENDANT: Alex O'Neal
   CASE NUMBER: 4:11-cr-98-DPM-6
                                              CRIMINAL MONETARY PENALTIES
       The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                     Assessment                                                                           Restitution
   TOTALS          $ 100.00                                          $                                  $ 0.00


       The determination of restitution is deferred until_ _ _ _ _ _ . An Amended Judgment in a Criminal Case (AO 245C) will be
       entered after such determination.

   D   The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each paY.ee shall receive an approximately J)roportioned payment, unless specified otherwise
       in the priority order or percentage payment column below. However, pursuant to 18 U.-s.c. § 3664(i), all nonfederal victims must be paid
       before the United States is paid.

   Name of Payee                                                  Total Loss*             Restitution Ordered        Priority or Percentage




   TOTALS                                                        $                          $                0.00

   D    Restitution amount ordered pursuant to plea agreement $ - - - - - - - - - -

   D    The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fme is paid in full before the
        fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
        to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

   D    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

        D the interest requirement is waived for          D fme          D restitution.
        D the interest requirement for            D    fine     D restitution is modified as follows:


   *Findings for the total amount oflosses are required under Chapters 109A, 110, llOA, and 113A of Title 18 for offenses committed on or
   after September 13, 1994, but before April23, 1996.
------------------------------------------·-
                         Case 4:11-cr-00098-DPM Document 204 Filed 11/16/12 Page 6 of 6
   AO 245C      (Rev. 09/11) Amended Judgment in a Criminal Case
                Sheet 6 - Schedule of Payments                                                                (NOTE: Identify Changes with Asterisks(*))

                                                                                                           Judgment - Page   _6~- of              10
   DEFENDANT: Alex O'Neal
   CASE NUMBER: 4: 11-cr-98-DPM-6

                                                          SCHEDULE OF PAYMENTS

   Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

   A    lit Lump sum payment of$ _1_0_0_.0_0_ _ __ due immediately, balance due
              0    not later than                                      , or
              '¥ in accordance with 0 C,              0    D,      0   E,or    ~Fbelow; or

   B    0     Payment to begin immediately (may be combined with              0 C,     0 D, or      0 F below); or
   C    0     Payment in equal               (e.g., weekly, monthly, quarterly) installments of $                      over a period of
             - - - - - (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

   D    0     Payment in equal               (e.g., weekly, monthly, quarterly) installments of $                  over a period of
             - - - - - (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
              term of supervision; or

   E    0     Payment during the term of supervised release will commence within               (e.g., 30 or 60 days) after release from
              imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

   F    lit Special instructions regarding the payment of criminal monetary penalties:
             The Court does not impose a fine because O'Neal is unable to pay one even on a reasonable installment
             schedule. If O'Neal cannot pay his special assessment before incarceration, it will be deducted in quarterly $25
             installments from his prison account.



   Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
   during the period of imprisonment. All criminal monet~~.ry Qenalties, except those payments made through the Federal Bureau of Prisons'
   Inmate Financial Responsibility Program, are made to the clerk of the court.

   The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




   0    Joint and Several

        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and
        corresponding payee, if appropriate.




   0    The defendant shall pay the cost of prosecution.

   0    The defendant shall pay the following court cost(s):

   0    The defendant shall forfeit the defendant's interest in the following property to the United States:



   Paytp.ents shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
   (5) fme interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
